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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flsb.uscourts.gov
In re:
 RAFAEL ANGEL GONZALEZ MENDOZA                                 Case No. 18-13386-RAM
 and CARMEN CECILIA BALGUER PERAL,                             Chapter 7

        Debtors.
 _________________________________________/

                              TRUSTEE’S NOTICE OF RULE
                      2004 EXAMINATION DUCES TECUM OF DEBTOR
                             (DOCUMENT PRODUCTION ONLY)
         MARCIA T. DUNN, as Chapter 7 Trustee (the “Trustee”) for the bankruptcy estate of

RAFAEL ANGEL GONZALEZ MENDOZA and CARMEN CECILIA BALGUER PERAL (the

“Debtors”), by and through her undersigned counsel, pursuant to Fed.R.Bankr.P. 2004 and Local

Rule 2004-1, will examine the Debtor, Rafael Angel Gonzalez Mendoza (also referred to as the

”Examinee”), under oath on July 20, 2018 at 10:30 A.M., at the offices of Dunn Law, P.A., 555

N.E. 15th Street, Suite 934-A, Miami, Florida 33132.

         The examination is pursuant to Fed.R.Bankr.P. 2004 and Local Rule 2004-1. The scope of

the examination shall be as described in Fed.R.Bankr.P. 2004, and will be taken before an officer

authorized to stenographically record the testimony. Pursuant to Local Rule 2004-1, no order or

subpoena shall be necessary, and to the extent that a request for production of documents under this

rule may be construed as a request under Bankruptcy Rule 7034, the time to respond is shortened to

fourteen (14) days.

               DOCUMENTS CAN BE PRODUCED IN LIEU OF APPEARANCE.

         The Examinee is requested to produce all of the documents described on the attached Exhibit

“A” no later than July 20, 2018, to the offices of Dunn Law, P.A., 555 N.E. 15th Street, Suite 934-A,

Miami, FL 33132, or by e-mail to: joshua.kligler@dunnlawpa.com. The Examinee must either
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produce the documents to undersigned counsel prior to the examination or alternatively, bring to the

examination the documents described on the attached Subpoena, and must permit copying of the

materials.

                                CERTIFICATE OF SERVICE

       I CERTIFY that a true and correct copy of the foregoing was served by U.S. mail on this

2nd day of July, 2018, upon the Debtor:

 Rafael Angel Gonzalez Mendoza
 8638 NW 113 Court
 Miami, FL 33178

       I CERTIFY that a true and correct copy of the foregoing was served via Notice of

Electronic Filing (CM/ECF) on this 2nd day of July, 2018, upon all registered users in this case.

                                              DUNN LAW, P.A.
                                              Counsel for Marcia T. Dunn, Trustee
                                              555 Northeast 15th Street, Suite 934-A
                                              Miami, Florida 33132-1451
                                              Tel: 786-433-3866
                                              Fax: 786-260-0269
                                              joshua.kligler@dunnlawpa.com

                                              By:      /s/ Joshua C. Kligler Esq.
                                                       Joshua C. Kligler, Esq.
                                                       FL Bar No. 69397




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                                          EXHIBIT “A”

                                         DEFINITIONS

        Unless the context of a specific request requires otherwise, the following definitions and
instructions shall apply to these requests:

    A.    “Debtor”, “Examinee”, “You” and “Your” shall mean RAFAEL ANGEL
GONZALEZ MENDOZA.

       B.      “Joint Debtor” shall mean CARMEN CECILIA BALGUER PERAL.

       C.      “Petition Date” shall mean March 23, 2018.

        D.     “Case” or “instant cause” means the instant bankruptcy case, styled In re: Rafael
Angel Gonzalez Mendoza and Carmen Cecilia Balguer Peral. (Case No.: 18-13386-RAM), pending
in the United States District Court, Southern District of Florida, Miami Division.

       E.     “Creditor” shall mean any person or entity to whom the Debtor owes money or is due
performance of any other contractual obligation.

        F.      “Communication” or “Communications” includes every manner of transmitting or
receiving facts, information, opinions or thoughts (including, but not limited to: visually; orally;
in writing; by digital, analog, electronic, magnetic, telephonic, or other mechanical means; or
otherwise), including, without limitation, oral conversations, telephone calls, written
correspondence, memoranda or notes, meetings document transmittals, facsimiles, emails or any
other method by which information is transmitted.

        G.      “Concerning”, “concern,” or any other derivative thereof, as used herein shall be
construed as referring to, responding to, relating to (as defined herein), pertaining to, connected
with, comprising, memorializing, commenting on, regarding, discussing, showing, describing,
reflecting, analyzing or constituting.

       H.     “Contract” or “contracts” shall mean (a) an agreement, oral or written, between two
or more Persons which creates an obligation to do or not to do a particular thing, and (b) any
document which serves as proof of the obligation, including, without limitation, any subcontract,
insurance policy or other formal agreement, including exhibits, attachments, amendments
(whether with or without effect), modifications (whether with or without effect), and addenda.

        I.     “Document”, “documents”, or “documentation” means the original or a copy of any
tangible thing from or on which Information can be stored, recorded, processed, transmitted,
inscribed, or memorialized in any way by any means, regardless of technology or form an
including, but not being limited to: accounting books or records; accounts; account statements;
affidavits; agendas; agreements; analyses; applications; appointment books; appraisals; audio
tapes; balance sheets; bordereaux; books; books or records of account; brochures; cables;
calendars; catalogues; CD-ROMs; certificates; charts; circulars; compact discs; computer


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printouts; contracts; correspondence; data processing input and output; deeds; deposition
transcripts; desk calendars; diaries; digital images; drafts; DVDs; DVD-ROMs; electrical
recordings; electronically stored Information, e-mail communications; evaluations; Excel
spreadsheets; experiments; faxes; facsimiles; films; financial statements; floppy disks; guides;
guidelines; hard copies of electronic, electrical, magnetic or any other communications not made
on paper; hard disk drives; hearing transcripts; income statements; instant messages; interoffice
communications; journals; ledgers; letters; lists; logs; magazines; magazine articles; magnetic
recordings, magnetic tapes; manuals; memoranda; microfilms; minutes; newspapers, newspaper
articles; notations, notebooks; notes; objects; opinions; papers; photographs; policies; powerpoint
presentations; procedures; profit and loss statements, prospectuses; receipts; recordings; releases;
reports; schedules; signature cards; sound recordings; spreadsheets; statements; statements of cash
flow; statistical records; stock certificates; summaries of accounts; summaries; tables; tabulations;
tangible things; telecommunications; telegrams; telefaxes; telex messages; tests; text messages;
titles; transcripts; videos; videotapes; websites; work papers; and any other writings, be they
typewritten, handwritten, printed, stored in or on any form of electronic or magnetic media, or
otherwise, and other records, recordings or pictures of any kind or description. Each copy of a
document which contains any separate notations or writings thereon shall be deemed to be a
separate document for purposes of these requests. Any document identified will include any
document, in draft or final form, either sent or received by You. This term also includes any
documents now or ever in Your possession, custody or control, or available to You, Your attorneys,
accountants, agents, representatives, employees, or associates, and specifically includes
documents kept by individuals in their desks, at home, or elsewhere.

        J.     “Documents” shall also mean all electronic data storage documents or
electronically stored information (ESI) including, but not limited to, e-mails and any related
attachments, electronic files or other data compilations which relate to the categories of documents
as requested below. Your search for these electronically stored documents shall include all of Your
computer hard drives, floppy discs, compact discs, backup and archival tapes, removable media
such as zip drives, password protected and encrypted files, databases, electronic calendars,
personal digital assistants, proprietary software, and inactive or unused computer disc storage
areas.

        K.       “Information” shall be expansively construed and shall include, but not be limited
to facts, data, opinions, images, impressions, concepts and formulae.

       L.      “Person” means any natural person, firm, partnership, joint venture, corporation, or
group of natural persons or such entities.

       M.       “Relating to,” “related” or “relating” means, directly or indirectly, refer to, mention,
describe, pertain to, arise out of or in connection with or in any way legally, logically, or factually
connected with the matter discussed.

        N.      When referring to a person, the term “Identify” shall mean to give, to the extent
known, the person’s full name, present or last known address, present of last known telephone
number, present or last known e-mail address, and when referring to a natural person, additionally,
the present or last known place of employment. Once a person has been identified in accordance



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with this paragraph, only the name of that person need be listed in response to subsequent
discovery requesting the identification of that person.

        O.     When referring to a document, the term “Identify” shall mean to state the type of
document as defined herein, the subject matter thereof, the date thereof, by whom it was written
or prepared, by whom it was signed, to whom it was sent, the present location (name and address
of place) thereof, and the present custodian of the original or copies thereof, so that the document
is described in sufficient enough detail that it could be subject to a request for production of
documents under the applicable rules of civil procedure. If any such document was, but no longer
is, in Your possession or subject to Your control, state the disposition of the document.

        P.      When referring to a communication other than a document, the term “Identify” shall
mean to describe the communication in such a manner that all the following Information is
provided: (1) whether the communication took place in person, by telephone, via e-mail, or
otherwise; (2) if by telephone, the identity of the person originating the call, the identity of the
person receiving the call, the identity of all other persons participating in the communication, and
the location of each of those persons at the time of the communication; and the identity of all other
persons present within hearing of any party to the communication; (3) if by e-mail, the identity,
including name and e-mail address, of the person originating the e-mail; the identity or identities,
including name and e-mail address, of all recipients; both intended and unintended, and including
persons to whom blind copies were sent, of the e-mail communication; the date and time of the
communication; all replies to and forwards of the original communication; the subject of the e-
mail communication; and the identity and physical location of the computer, network, or server
from which the e-mail was sent; (4) in in Person, the identity of all persons present during the
communication and the location of the communication; (5) the date and time of the
communication; (6) to the best of Your recollection, what was said by each party to the
communication; and (7) the identity of the custodian of any document that recorded, summarized,
or concerned the communication.

       Q.     The connectives “and” and “or” shall be construed either disjunctively or
conjunctively as necessary to bring within the scope of this discovery all responses that might
otherwise be construed to be outside of its scope.

         R.    The words “any,” “all” and “each” shall be construed as necessary to bring within
the scope of this discovery request all responses that might otherwise be construed to be outside
of its scope.

       S.      The use of the singular form of any word includes the plural and vice versa.

        T.     The use of the masculine form of any word includes the feminine form and the
neuter form, and vice versa.

                                        INSTRUCTIONS

       With respect to this request for documents, the following instructions shall apply:




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        A.      This request for documents is continuing so as to require supplementary documents
if additional information or documents hereafter are obtained or discovered which may augment
or otherwise modify the information that You provide and documents that You produce.
Supplementary documents are to be served within five (5) days after receipt or discovery of such
information or documents.

        B.      Examinee is hereby notified that its duty to respond to this document request includes
the duty to furnish all information, documents and materials which are in Your possession or
available to You, including all those which can be obtained from additional sources or in the
possession of Your agents, representatives, employees, investigators, attorneys, or anyone acting
on their behalf or on Your behalf, pursuant to Fed.R.Bankr.P. 7036. If You are unable to locate any
requested information or document after exercising due diligence to secure the requested
document, so state.

       C.      In the event that any document requested herein is not presently in Your possession
or subject to Your control, please identify each person You have reason to believe had or has
knowledge of its contents.

         D.      If any document is not produced under a claim of privilege, for each such document
identify the nature of the privilege (including work product) that is being claimed, indicate the
document request to which the document is responsive, and provide the following information,
unless divulgence of such information would cause disclosure of the allegedly privileged
information: (1) the type of document, including the number of pages, and attachments or
appendices; (2) the general subject matter of the document; (3) the date of the document; (4) all
persons to whom the document was distributed, shown or explained; and (5) such other information
as is sufficient to identify the document for a subpoena duces tecum, including, where appropriate,
the author of the document, the addressee of the document, and, where not apparent, the
relationship of the author and addressee to each other.

        E.      In the event that any document called for has been destroyed, discarded, or
otherwise disposed of, identify the document by stating its: (a) author or preparer; (b) addressee(s);
(c) indicated or blind copies; (d) date; (e) subject matter; (f) number of pages; (g) attachments or
appendices; (h) all Persons to whom it was distributed to or shown; (i) date of destruction of other
disposition; (j) manner of destruction or other disposition; (k) reason for destruction or other
disposition; (l) Person destroying or disposing of the document; and (m) the document request or
requests to which the document is responsive.

       F.     In producing documents requested herein, You shall produce documents in full,
without abridgment, abbreviation, and expurgation of any sort.

       G.     All documents shall be produced as they are kept in the usual or ordinary course of
business with any identifying labels, file markings or similar identifying features, and shall be
organized and segregated in accordance with the numbered and lettered paragraphs and
subparagraphs herein, pursuant to Fed.R.Civ.P. 45, made applicable in bankruptcy cases by
Fed.R.Bankr.P. 9016.




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        H.      All requests herein refer to the period from March 1, 2014 to the date of production,
unless otherwise specifically indicated, and shall include all documents and information that relate
to such period, even though prepared, generated or published prior to or subsequent to that period.

                                   DOCUMENT REQUESTS
A.      REAL PROPERTY
        1)     All documents that evidence, refer or relate to any real property owned by You,
individually or jointly with another person or entity, anywhere in the world, from March 2014
through the date of your response, including but not limited to deeds, mortgages, property tax bills.
        2)     Complete copy of the closing file, including, without limitation, copies of any and
all promissory notes, mortgages, HUD-1s, listing agreements, closing statements, settlement
statements, addendums, deeds, mortgage or loan applications, and payment documents, for all real
property in which you’ve had an interest in the six (6) years up to and including the Petition Date,
including but not limited to:
        3)     Copies of all records relating to any home improvements performed to any real
property that You and/or Your significant other used, occupied, possessed, owned, rented, or
controlled in the four (4) years up to and including the Petition Date.
        4)     Copy of any homeowner’s or renter’s insurance policy(ies) with respect to any real
property that You and/or Your significant other used, occupied, possessed, owned, rented, or
controlled in the four (4) years up to and including the Petition Date, including but not limited to:
     a) 2250 NW 114th Ave., Unit 1V, Miami, FL 33172
     b) 2260 NW 114th Ave., Unit 1V, Miami, FL 33172
        5)     Copy of any lease, rental agreement, purchase agreement, and/or sale agreement or
contract with respect to any real property that You and/or Your spouse used, occupied, possessed,
owned, rented, or controlled in the four (4) years up to and including the Petition Date, including
but not limited to:
     a) 2250 NW 114th Ave., Unit 1V, Miami, FL 33172
     b) 2260 NW 114th Ave., Unit 1V, Miami, FL 33172
B.      PERSONAL PROPERTY
        6)     Detailed color photographs of all personal property in your home, whether you
claim an interest in the property or not, both of full room/wide view and close ups of any
electronics, jewelry, and other valuables, including without limits:



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     a) Designer wear, shoes, furs, accessories and electronics.
        7)      Any and all documents that evidence, refer or relate to household goods,
furnishings, and fixtures that have been purchased by You from March 2014 to present that had a
purchase price of $500 or more.
        8)      Any and all documents that evidence, refer or relate to collectibles (e.g., artwork,
antiques, paintings, books, memorabilia prints, pictures, stamps, cards, art objects) clothes, or
jewelry (e.g., watches, rings, heirlooms, gems, gold and silver) that You now own or have owned
from March 2014 to present.
C.      PERSONAL FINANCIAL
        9)      Copies of all bank statements (monthly or periodic) and records (including, but not
limited to, ledger accounts, deposit slips, cancelled checks (front and back), check registers, check
stubs, debit or credit advices or memos and wire transfers) for all bank accounts, both open and
closed, personal or business, including virtual bank or merchant accounts, in any and all financial
institutions, anywhere (foreign or domestic), from March 2014 to present, that are in Your name
or joint name, or where You are an authorized signer or have an interested party of any kind,
including but not limited to:
                a) Bank of America Acct. #’s 5758 and 5627.
                b) Unscheduled Account # 1127
                c) Unscheduled Account # 3439
        10)     Explanation for any and all electronic wire transfers (incoming or outgoing) as
reflected on the bank statements and records produced in response to request 9, supra, including
but not limited to:
                a) Incoming
                      i)     3/16/17 - $52,273.38 (Acct. # 1127)
                      ii)    6/20/17 - $8,153.30 (Acct. # 1127)
                      iii)   6/20/17 - $3,494.27 (Acct. # 1127)
                      iv)    6/30/17 - $50,000.00 (Acct. # 1127)
                      v)     7/7/17 - $23,849.51 (Acct. # 1127)
                      vi)    7/7/17 - $8,140.78 (Acct. # 1127)
                      vii) 8/1/17 - $27,087.38 (Acct. # 1127)
                      viii) 10/18/17 - $10,000.00 (Acct. # 5758)



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                    ix)   12/1/17 - $7,276.70 (Acct. # 1127)
                    x)    12/7/17 - $29,126.31 (Acct. # 1127)
                b) Outgoing
                    i)     3/16/17 - $15,000.00 (Acct. # 1127)
         11)    Complete copies of all documents relating to any and all electronic wire transfers
(incoming or outgoing) as reflected on the bank statements produced in response to request 9,
supra.
         12)    Explanation for Check No. 1022, in Account # 1127, dated 07/05/17 made payable
to Bam Bam Used Auto Sales, Inc. for $40,000.00.
         13)    Any and all signature cards that name You as an authorized signatory on any
financial account, for any entity or other third party, from March 2014 to present.
         14)    Full accounting of all cash advances taken from any credit card or line of credit
within four (4) years of the Petition Date, including a description of what the money was used for.
         15)    Any and all documents submitted to any bank, financial institution, or any other
person or entity, by You, for any loan or advance, in any capacity (borrower, guarantor, or surety)
from March 2014 to present.
         16)    Copies of any and all credit and/or loan applications, including, without limitation,
any personal financial statements, that were submitted to any person, entity or financial institution
by You from March 2014 to present day.
         17)    All documents that evidence, refer or relate to any interest in, or claimed title to,
any certificates of deposit, letters of credit, money orders, cashier’s checks, traveler’s checks, bank
deposits, note receivables, pledges, or security interests in favor of You or escrow funds owned or
held by You from March 2014 to present.
         18)    All documents that evidence, refer or relate to any account into which any of Your
earnings or other income has been deposited from March 2014 to present, whether You continue
to have an interest in it or not.
         19)    All documents that evidence, refer or relate to You having authority to access any
safe-deposit box or other bank-secured area, from March 2014 to present.
         20)    Copies of all liability, credit card and/or credit line statements listed on
Schedule E/F, in addition to any other accounts on which you are an authorized signor, including




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any receipts (if applicable), reflecting all purchases and/or transactions made from March 2014 to
present.
       21)     Signed copies of Your filed 2014, 2015, 2016 and 2017 federal income tax returns
(i.e., personal and joint), including all supporting forms, schedules and documentation, such as K-
1s, W-2s, 1099 (including but not limited to 1099-DIV or 1099-INT) and 1098 forms, and W-4
tax withholding forms. If a return was not filed, provide declarations of no income filed with the
IRS and all related documents regarding same.
       22)     Copy of any 2016 and 2017 federal income tax refund check that You, Your spouse,
and/or any corporate entity in which You claim ownership received.
       23)     All documentation regarding any and all wills, family trusts, interests in insurance
policies, equitable or future interests, life estates, and rights or powers exercisable for the benefit
of the Debtor or where You and/or Your spouse are named.
       24)     All documentation relating to any outstanding government, federal, state, and/or
municipal) tax obligations, including without limitation, copies of tax liens, that You and/or Your
spouse or any corporation in which You are listed as an officer, as of the Petition Date.
       25)     Any and all documents relating to any cash withdrawals from any of your bank
accounts in the last two (2) years up to and including the Petition Date for $500 or more, and a
description and supporting documents regarding the use of the withdrawn funds.
       26)     All documents that evidence, refer or relate to stocks, bonds, mutual funds,
debentures, certificates of deposit, or other investments owned by You or held for Your benefit.
       27)     Any and all documents that evidence, refer or relate to any retirement accounts or
annuities, whether individual or employer sponsored, owned by You or held for Your benefit.
       28)     Any and all documents that evidence, refer or relate to any stock options or profit
sharing plans held by You or for Your benefit.
       29)     Any and all documents that evidence, refer or relate to a cash value in any life
insurance policy of You and copies of all policies, whether term, whole life, or universal.
D.     BUSINESS INTERESTS
       30)     All documents that evidence, refer or relate to Your ownership interest in any
business entity, including, without limitation, a corporation, limited liability company, partnership,
a limited partnership, a limited liability partnership, a limited liability limited partnership, a




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professional association and a professional corporation, from March 2014 to present, including but
not limited to:
       a) Go Solar, LLC
       b) Prestige Solar, Inc.
       31)        Provide a USB flash-drive, portable drive, or disc containing the accounting data
including the name of the software used and the passwords required to access the data, from March
2014 to present, for any entity in which you’ve had an ownership, equitable, beneficial or other
interest in, including but not limited those listed in request 30, supra.
       32)        Signed copies of all local, state and federal tax returns for the 2013, 2014, 2015 and
2016, including all supporting forms, schedules and documentation, such as K-1s, W-2s, 1099 and
1098 forms, and W-4 tax withholding forms, filed by or for any entity in which you’ve had an
ownership, equitable, beneficial or other interest in, including but not limited those listed in request
30, supra.
       33)        All corporate documents without limitation, any revised or amended versions, from
March 2014 to present, including but not limited to articles of incorporation, bylaws, shareholder
agreements, meeting minutes, and corporate resolutions, stock certificates, and actions by consent
of shareholders, for any entity in which you’ve had an ownership, equitable, beneficial or other
interest in since March 2014, including but not limited those listed in request 30, supra.
       34)        Copies of all corporate financial documents (including, but not limited to, payroll
records, signed payroll tax returns, profit and loss statements, general ledgers, accounts receivable,
inventory, accounts payable), from March 2014 to the Petition Date, for any entity in which you’ve
had an ownership, equitable, beneficial or other interest in since March 2014, including but not
limited those listed in request 30, supra.
       35)        Provide complete copies of all business records, from March 2014 to present,
including but not limited to: occupational licenses, business licenses (federal, state, county, city),
patents, financing statements, factoring agreements, financing agreements, distribution
agreements, partnership agreements, licenses, copyright and trademark, intellectual property,
website detail, fictitious name information, non-proprietary manufacturing agreements,
assignments, pledges, and financial statements, for any entity in which you’ve had an ownership,
equitable, beneficial or other interest in since March 2014, including but not limited those listed in
request 30, supra.



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       36)        Copies of any and all statements (periodic or monthly) and all support for all
deposits, withdraws and transfers (including, without limitation, ledger accounts, memoranda,
signatory cards, checkbooks, canceled checks (front and back), wire transfers (incoming and
outgoing), debit or credit advices or memos, deposit slips, withdraw slips and any other records)
for all bank accounts (open or closed), including all virtual bank or merchant accounts (such as
PayPal), in any and all financial institutions, anywhere (foreign and domestic), from March 2014
to the Petition Date, where any entity in which you’ve had an ownership, equitable, beneficial or
other interest in since March 2014, was a joint name, authorized signer, exercised control, or
otherwise had an interest, including but not limited those listed in request 30, supra
       37)        Copies of any and all agreements, including but not limited to employment
contracts or agreements, leases, including, without limitation, property, rental and equipment
leases, related to or concerning any entity in which you’ve had an ownership, equitable, beneficial
or other interest in since March 2014, including but not limited those listed in request 30, supra,
and to include:
       a) Agreement with any business advisor or business manager.
       38)        All documentation and information regarding any and all transfers of money,
property, contributions, loans, investments, gifts, cash withdrawals, or payments over $1,000.00,
made to any person and or any entity outside of the ordinary course of business (including, without
limitation, any shareholders, principals, officers, directors, owners, employees, contractors or
agents of the Debtor), from March 2014 to present by any entity in which you’ve had an ownership,
equitable, beneficial or other interest in since March 2014, including but not limited those listed in
request 30, supra.
       39)        Copies of any and all financial statements prepared for any lender, creditor, or third
party, from March 2014 to the Petition Date, for any entity in which you’ve had an ownership,
equitable, beneficial or other interest in since March 2014, including but not limited those listed in
request 30, supra.
       40)        All documents related to any profit, equity or benefit sharing agreement or joint
venture arrangement in which any entity in which you’ve had an ownership, equitable, beneficial
or other interest in since March 2014 has an interest, including but not limited those listed in
request 30, supra.




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GENERAL / OTHER
        41)    Provide any and all documents, including monthly or periodic financial statements
and records, regarding joint business ventures, trusts, arrangements, and/or assets held or that You
participated in with any individuals or entities within four (4) years immediately preceding the
Petition Date, including but not limited to:
         a)    Oscar Garcia
         b)    Vanessa Romay
         c)    Miguel Saba
         d)    Amad Farah
         e)    Andres Blanco Perez
         f)    Omar Dalal Bou Hamdan
         g)    Maria Balaguer
         h)    Roberto Cano
         i)    Micah McCarter
         j)    Jon Paulisin(i)
         k)    Nidiel Puentes
         l)    Maritza Vargas
       42)     All documents relating to any and all transfers of money, contributions,
investments, property, loans, gifts over $500.00 made by the Debtor to any person, party or entity,
from March 2014 to present, including but not limited those individuals listed in request 41, supra.
       43)     Any and all documents that evidence, refer or relate to any lawsuit, court action, or
administrative proceeding, including personal injury cases, small claims actions, divorces,
collection suits, paternity actions, support or custody modifications, contract disputes, and any
other proceeding, from March 2014 to present.
       44)     Color copies of all pages of any and all passports (United States passports as well as
passports and or other travel documents issued to you by any country), that were in Your possession,
custody or control, or available to You from March 2014 to Present.
                                                    ***

        The Trustee reserves the right to request additional documents as the investigation
continues, as the Examination proceeds, as additional issues are uncovered, and as
clarifications are required.



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